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                             IN THE UNITED           STATES DISTRICT COURT

                             FOR THE        SOUTHERN DISTRICT OF GEORGIA

                                                AUGUSTA DIVISION




UNITED STATES OF AMERICA,


               v.                                                            CR   110-251



DEVICCO TROY MOSS




                                                    ORDER




        Defendant      has    filed         a     motion   for       reduction      of    sentence    under      18


U.S.C.    § 3582(c)(2)        on the basis that Amendment 782 to the United States

Sentencing       Guidelines         has         revised        the   guidelines          applicable      to    drug

trafficking         offenses.           Even       though Amendment           782      became     effective      on

November    1,       2014,    no    defendant         may       be    released      on    the    basis    of    the

retroactive amendment before November 1,                             2015.    See U.S.S.G.         Amend.      788.

Thus,    the        Court    will       undertake          a     review      of    cases        involving      drug

trafficking         offenses       in       due    course.           If Defendant         is    entitled       to a

sentence     reduction         as       a    result    of       amendments        to      the    United     States

Sentencing Guidelines, the Court will make such a reduction sua sponte.

Accordingly, Defendant's motion (doc. no. 911) is DEFERRED.1
        ORDER ENTERED at Augusta, Georgia, this ^y 0                                       day of November,
2014.




                                                                :E J.   RANDAL HALL
                                                    UNITED/ STATES DISTRICT JUDGE
                                                    SOUTHERN DISTRICT OF GEORGIA


        The Clerk is directed to terminate the motion for administrative purposes
